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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 09-cr-64-01/2-JL

Darrell Cook et al


                                  O R D E R


     The assented to motion to reschedule jury trial (document no.

19) filed by defendant is granted. Continuance is limited to 60

days.

     Defendant shall file a waiver of speedy trial rights within 10

days.   The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv), for the

reasons set forth in the motion.

     SO ORDERED.



                                          _______________________________
                                          Joseph N. Laplante
                                          United States District Judge

Date:    May 19, 2009




cc: David W. Ruoff, Esq.
    Jonathan Saxe, AFD
    Clyde R. W. Garrigan
    U.S. Marshal
    U.S. Probation
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